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 Fill in this information to identify your case:

  Debtor 1                   Scott                 Vincent             Van Dyke
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                           21-60052                                                                                            ✔
                                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority           Nonpriority
                                                                                                                                  claim       amount             amount

2.1      Internal Revenue Service                                                                                                   unknown              $0.00       unknown
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         PO Box 7346
        Number           Street
                                                                    As of the date you file, the claim is: Check all that
                                                                    apply.
         Philadelphia, PA 19101
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ✔ Debtor 1 only                                             ❑ Disputed
        ❑
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 1 and Debtor 2 only                                ❑ Domestic support obligations
                                                                    ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ At least one of the debtors and another
        ❑ Check if this claim is for a community debt
                                                                        government
                                                                    ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ❑ Other. Specify
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 11
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 Debtor 1              Scott                  Vincent                   Van Dyke                                            Case number (if known) 21-60052
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     AmeriCredit/GM Financial                                                   Last 4 digits of account number 8397                                                      $0.00
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?          10/01/2015
        Attn: Bankruptcy
                                                                                   As of the date you file, the claim is: Check all that apply.
        PO Box 183853                                                              ❑ Contingent
                                                                                   ❑ Unliquidated
        Number           Street

                                                                                   ❑ Disputed
        Arlington, TX 76096
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                          Type of NONPRIORITY unsecured claim:
        ✔
        ❑ Debtor 1 only                                                            ❑ Student loans
        ❑ Debtor 2 only                                                            ❑ Obligations arising out of a separation agreement or
        ❑
                                                                                       divorce that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                                   ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                      similar debts
        ❑ Check if this claim is for a community debt                              ✔ Other. Specify
                                                                                   ❑
        Is the claim subject to offset?                                               Automobile
        ✔ No
        ❑
        ❑ Yes
4.2     AT&T U-verse                                                                                                                                                       $295.00
                                                                                   Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
        PO Box 5014
        Number           Street                                                    As of the date you file, the claim is: Check all that apply.
        Carol Stream, IL 60197                                                     ❑ Contingent
        City                              State     ZIP Code                       ❑ Unliquidated
        Who incurred the debt? Check one.                                          ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                          Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                            ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                      divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                              ❑ Debts to pension or profit-sharing plans, and other
                                                                                       similar debts
        Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                   ❑
        ✔ No
        ❑                                                                              Utility Bill
        ❑ Yes
4.3     Bank of America                                                            Last 4 digits of account number 5704                                              $46,074.00
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?          06/01/1983
        4909 Savarese Circle FL1-908-01-50                                         As of the date you file, the claim is: Check all that apply.
                                                                                   ❑ Contingent
        Number           Street

                                                                                   ❑ Unliquidated
        Tampa, FL 33634
        City                              State     ZIP Code
        Who incurred the debt? Check one.
                                                                                   ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                          Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                            ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another
                                                                                       divorce that you did not report as priority claims
                                                                                   ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                  similar debts
        Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                   ❑
        ✔ No
        ❑                                                                              CreditCard
        ❑ Yes


Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 11
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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.4     BBVA Compass                                                           Last 4 digits of account number 6922                                                 $0.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          06/01/2013
        Attn: Bankruptcy
                                                                               As of the date you file, the claim is: Check all that apply.
        PO Box 10566
       Number           Street
                                                                               ❑   Contingent

        Birmingham, AL 35296
                                                                               ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                   divorce that you did not report as priority claims
                                                                               ❑
       ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Automobile
       ✔
       ❑      No
       ❑      Yes
4.5     Builders West, Inc.                                                                                                                                $609,167.42
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        c/o Rusty Hardin & Associates, LLP
                                                                               As of the date you file, the claim is: Check all that apply.
        1401 McKinney Street 2250
       Number           Street                                                 ❑   Contingent
        Houston, TX 77010                                                      ❑   Unliquidated
       City                              State     ZIP Code                    ✔
                                                                               ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another                          ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                   similar debts
              Check if this claim is for a community debt
                                                                               ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Judgement
       ✔
       ❑      No
       ❑      Yes
4.6     CenterPoint Energy                                                                                                                                        $135.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        Attn: Bankruptcy
                                                                               As of the date you file, the claim is: Check all that apply.
        PO Box 4981
       Number           Street                                                 ❑   Contingent
        Houston, TX 77210-4981                                                 ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                          ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                   similar debts
              Check if this claim is for a community debt
                                                                               ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Utility Bill
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.7     Central Portfolio Control                                              Last 4 digits of account number 7637                                          $3,675.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          02/01/2019
        Attn: Bankruptcy Attn: Bankruptcy
                                                                               As of the date you file, the claim is: Check all that apply.
        10249 Yellow Circle Dr , Ste 200
       Number           Street
                                                                               ❑   Contingent

        Minnetonka, MN 55343
                                                                               ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                   divorce that you did not report as priority claims
                                                                               ❑
       ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             CollectionAttorney
       ✔
       ❑      No
       ❑      Yes
4.8     Chase Auto Finance                                                     Last 4 digits of account number 2808                                                 $0.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          03/01/2013
        P.O. Box 78101
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Phoenix, AZ 85062
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                   divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   Automobile
       ❑      Yes
4.9     Chase Card Services                                                    Last 4 digits of account number 6442                                         $45,559.03
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          02/01/1995
        Attn: Bankruptcy
                                                                               As of the date you file, the claim is: Check all that apply.
        PO Box 15298
       Number           Street
                                                                               ❑   Contingent

        Wilmington, DE 19850
                                                                               ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                   divorce that you did not report as priority claims

       ✔                                                                       ❑
       ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             CreditCard
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.10    Citibank                                                               Last 4 digits of account number 6713                                                 $0.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          08/01/1995
        Citicorp Credit Srvs/Centralized Bk dept
                                                                               As of the date you file, the claim is: Check all that apply.
        PO Box 790034
       Number           Street
                                                                               ❑   Contingent

        St Louis, MO 63179
                                                                               ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                   divorce that you did not report as priority claims
                                                                               ❑
       ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             CreditCard
       ✔
       ❑      No
       ❑      Yes
4.11    City of Houston - Water Department                                                                                                                        $140.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        PO Box 1560
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Houston, TX 77251                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Utility Bill
       ❑      Yes
4.12    Encore Bank                                                            Last 4 digits of account number 9899                                                 $0.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          05/22/2008
        Nine Greenway Plaza
                                                                               As of the date you file, the claim is: Check all that apply.
       Number           Street
        Houston, TX 77046
                                                                               ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                   divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                               ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?                                         ✔
                                                                               ❑   Other. Specify
       ✔
       ❑      No                                                                   CreditLineSecured
       ❑      Yes




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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.13    Jett Williams III                                                                                                                                  $520,672.03
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        Henke, Williams, & Boll, LLP
                                                                               As of the date you file, the claim is: Check all that apply.
        2929 Allen Parkway 3900
       Number           Street                                                 ❑   Contingent
        Houston, TX 77019                                                      ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                          ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                   similar debts
              Check if this claim is for a community debt
                                                                               ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Attorney's Fees
       ✔
       ❑      No
       ❑      Yes
4.14    Johns & Hebert, PLLC                                                                                                                                $86,010.61
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        2028 E. Ben White Blvd. 240-1000
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Austin, TX 78741                                                       ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Legal Services
       ❑      Yes




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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.15    Laurence Foster Wilkerson                                                                                                                          $200,000.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        1305 Glourie Dr.
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Houston, TX 77055                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Personal Guaranties for unsecured loans of Texas
       ❑   Yes                                                                     Petroleum Operations, LLC
        Remarks: Interest Rate: 10%
4.16    Littlemill Limited, et. al.                                                                                                                          unknown
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        c/o HMH
                                                                               As of the date you file, the claim is: Check all that apply.
        3200 Travis 4th Floor
       Number           Street                                                 ❑   Contingent
        Houston, TX 77006                                                      ❑   Unliquidated
       City                              State     ZIP Code                    ✔
                                                                               ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ❑      At least one of the debtors and another                          ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                   similar debts
              Check if this claim is for a community debt
                                                                               ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Potential Judgement
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.17    Michael Noel                                                                                                                                       $900,992.08
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        c/o Foley & Lardner, LLP
                                                                               As of the date you file, the claim is: Check all that apply.
        1000 Louisiana Street 2000
       Number           Street                                                 ❑   Contingent
        Houston, TX 77002                                                      ❑   Unliquidated
       City                              State     ZIP Code                    ✔
                                                                               ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another                          ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                   similar debts
              Check if this claim is for a community debt
                                                                               ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Judgement
       ✔
       ❑      No
       ❑      Yes
4.18    Philadelphia Indemnity Insurance Co.                                                                                                                 unknown
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        c/o KF&D, PLLC
                                                                               As of the date you file, the claim is: Check all that apply.
        909 18th Street
       Number           Street                                                 ❑   Contingent
        Plano, TX 75074                                                        ❑   Unliquidated
       City                              State     ZIP Code                    ✔
                                                                               ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                           divorce that you did not report as priority claims
       ✔
       ❑      At least one of the debtors and another                          ❑   Debts to pension or profit-sharing plans, and other
       ❑
                                                                                   similar debts
              Check if this claim is for a community debt
                                                                               ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             Potential Judgement
       ✔
       ❑      No
       ❑      Yes
4.19    Phoenix Financial Services, LLC                                        Last 4 digits of account number 5462                                               $777.00
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?          10/01/2017
        Attn: Bankruptcy
                                                                               As of the date you file, the claim is: Check all that apply.
        PO Box 361450
       Number           Street
                                                                               ❑   Contingent

        Indianapolis,, IN 46236
                                                                               ❑   Unliquidated
       City                              State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                       Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                    ❑   Student loans
       ❑      Debtor 2 only                                                    ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                                   divorce that you did not report as priority claims
                                                                               ❑
       ❑      At least one of the debtors and another
                                                                                   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       ❑      Check if this claim is for a community debt                      ✔
                                                                               ❑   Other. Specify
       Is the claim subject to offset?                                             CollectionAttorney
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 8 of 11
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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.20    Stephen Jacobe                                                                                                                                     $100,000.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        3828 Northwestern St.
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Houston, TX 77257                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Personal Guaranties for unsecured loans of Texas
       ❑   Yes                                                                     Petroleum Operations, LLC
        Remarks: Interest Rate: 10%
4.21    Trieagle Energy                                                                                                                                           $670.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        PO Box 974655
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75397                                                       ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Utility Bill
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 9 of 11
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 Debtor 1              Scott                 Vincent                Van Dyke                                            Case number (if known) 21-60052
                       First Name             Middle Name           Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                           Total claim


4.22    Victor & Diane Vacek                                                                                                                               $200,000.00
                                                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                               When was the debt incurred?
        820 Gessner Suite 1525
       Number           Street                                                 As of the date you file, the claim is: Check all that apply.
        Houston, TX 77024                                                      ❑   Contingent
       City                              State     ZIP Code                    ❑   Unliquidated
       Who incurred the debt? Check one.                                       ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                    ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                   similar debts
       Is the claim subject to offset?
                                                                               ✔
                                                                               ❑
       ✔
       ❑      No
                                                                                   Other. Specify
                                                                                   Personal Guaranties for unsecured loans of Texas
       ❑   Yes                                                                     Petroleum Operations, LLC
        Remarks: Interest Rate: 10%




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 10 of 11
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 Debtor 1              Scott                Vincent                Van Dyke                                    Case number (if known) 21-60052
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                  $2,714,167.17
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                        $2,714,167.17




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 11 of 11
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 Fill in this information to identify your case:

  Debtor 1                   Scott                 Vincent            Van Dyke
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                           21-60052                                                                                       ✔
                                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                       (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Scott Vincent Van Dyke
        Scott Vincent Van Dyke, Debtor 1


        Date 12/15/2021
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
